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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                          Case No.: 22−14504−CMG
                                          Chapter: 13
                                          Judge: Christine M. Gravelle

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Holly L. Housley
   aka Holly L. Johnsen
   1475 Mount Holly Road
   Unit E−11
   Beverly, NJ 08010
Social Security No.:
   xxx−xx−5832
Employer's Tax I.D. No.:


                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that Albert Russo is discharged as trustee of the estate of the above named debtor(s) and the bond
is canceled; and the case of the above named debtor(s) is closed.


Dated: September 22, 2022                           Christine M. Gravelle
                                                    Judge, United States Bankruptcy Court
